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  11
  12
  13                            UNITED STATES DISTRICT COURT
  14                          CENTRAL DISTRICT OF CALIFORNIA
  15
  16    JOSEPHINE PERFECTO, MARK               Case No. 2:22-CV-01410-GW-JC
        BOULDIN, YVETTE SIMMONS,
  17    ASHLEY LEE, DANIEL MENJIVAR,           DECLARATION OF MATTHEW
        CRYSTAL STALLINGS, individually,       BROEL IN SUPPORT OF
  18    and on behalf of others similarly      DEFENDANT FAMILY DOLLAR,
        situated,                              INC.’S MOTION TO COMPEL
  19                                           ARBITRATION AND STAY ALL
                              Plaintiffs,      PROCEEDINGS
  20
               vs.                             Date:        June 2, 2022
  21                                           Time:        9:00 a.m.
        FAMILY DOLLAR, INC., a North           Courtroom:   9D
  22    Carolina corporation; and DOES 1       Judge:       George H. Wu
        through 50, inclusive,
  23                                           Complaint Filed: December 29, 2021
                              Defendants.
  24
  25
  26
  27
  28
                                                  DECLARATION OF MATTHEW BROEL ISO
         Case No. 2:22-CV-01410-GW-JC               MOTION TO COMPEL ARBITRATION &
                                                              STAY ALL PROCEEDINGS
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   1                        DECLARATION OF MATTHEW BROEL
   2          I, Matthew Broel, declare:
   3
   4          1.     I am over the age of eighteen and am competent to testify to the matters
   5   contained in this Declaration.      This Declaration is based upon my personal
   6   knowledge, or know of such facts by my review of the files maintained by Defendant
   7   Family Dollar, Inc., in the ordinary course of its business at or near the time of the
   8   acts, conditions, or events recorded herein. If called on as a witness, I would testify
   9   competently to the facts stated herein.
  10          2.     I am currently employed by Dollar Tree Stores, Inc., as Director
  11   Operations Project Program Management. In this role, I provide store operations
  12   support for all of the Dollar Tree stores operated by Dollar Tree Stores, Inc., and all
  13   of the “Family Dollar” bannered stores operated by other related entities, including
  14   Family Dollar, Inc. I have been providing store operations support for Family Dollar,
  15   Inc. (“Family Dollar”) since July 2006.
  16          3.     Family Dollar stores receive merchandise and supply products through
  17   interstate shipping, and Family Dollar relies on interstate commerce to effectively
  18   run each store location. Family Dollar store employees (“Associates”) use U.S. Mail,
  19   electronic mail, and interstate telephone lines to receive and transmit business
  20   information to out-of-state corporate parent entities.
  21          4.     In the scope of my employment, I am familiar with the electronic
  22   systems Family Dollar has used to share the Mutual Agreement to Arbitrate Claims
  23   with Associates at different periods of time, to provide information and training and
  24   other online learning programs to its Associates, and to gather, share, and maintain
  25   certain personnel records pertaining to each Associate.
  26          5.     Family Dollar presented training courses and company policies to its
  27   Associates through an online interface called Family Dollar University (“FDU”).
  28   FDU kept records of each module an Associate completed.

                                                        DECLARATION OF MATTHEW BROEL ISO
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   1          6.     Each Associate used a unique ID and a password to access the FDU
   2   modules. Associates created their own passwords, and were prohibited from sharing
   3   their passwords with any other individual, for any reason.
   4                    2013 ARBITRATION AGREEMENT PROCESS
   5          7.     In 2013, Family Dollar rolled out a company-wide arbitration
   6   agreement. On August 9, 2013, Family Dollar sent a letter and copy of the “Family
   7   Dollar, Inc. Mutual Agreement to Arbitrate Claims” (the “2013 Arbitration
   8   Agreement”) to Associates as part of that roll-out. The letter asked Associates to
   9   work with their manager to review an online training for the 2013 Arbitration
  10   Agreement and sign it using the FDU system by August 30, 2013. Family Dollar has
  11   maintained copies of these letters sent to Associates as part of its ordinary course of
  12   business.
  13          8.     Attached hereto as Exhibit A is a true and correct copy of the letter and
  14   attachments sent to Mark Bouldin on August 9, 2013, which includes a copy of the
  15   2013 Arbitration Agreement. Mr. Bouldin’s home address to where the letter was
  16   sent has been redacted to maintain his privacy.
  17          9.     Attached hereto as Exhibit B is a true and correct copy of the letter and
  18   attachments sent to Ashley Lee on August 9, 2013, which includes a copy of the 2013
  19   Arbitration Agreement. Ms. Lee’s home address to where the letter was sent has
  20   been redacted to maintain her privacy.
  21          10.    The FDU training module referred to in the letter was titled “Open Door
  22   & Arbitration at Family Dollar” (“Arbitration Module”). Once an Associate logged
  23   in to FDU and accessed the Arbitration Module, it walked the Associate through the
  24   Open Door Guidelines and Arbitration Agreement. Attached hereto as Exhibit C is
  25   a true and correct copy of the screens comprising the Arbitration Module.
  26          11.    The fourth screen of the Arbitration Module (page 4 of Exhibit C)
  27   explained the Open Door Guidelines and included a link for the Associate to view
  28
                                                         DECLARATION OF MATTHEW BROEL ISO
         Case No. 2:22-CV-01410-GW-JC         -3-          MOTION TO COMPEL ARBITRATION &
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   1   and print that document. Attached hereto as Exhibit D is a true and correct copy of
   2   the Open Door Guidelines accessible at that link.
   3          12.    The Associate then proceeded to a screen to download and review the
   4   2013 Arbitration Agreement. The Associate had to click a button to download the
   5   agreement, click a box that indicated that the Associate had reviewed all the pages of
   6   the 2013 Arbitration Agreement, and then click a button acknowledging that the
   7   Associate had read the 2013 Arbitration Agreement and was ready to accept. To
   8   accept the agreement, the Associate had to click all three buttons.
   9          13.    Attached here as Exhibit E is a true and correct copy of the 2013
  10   Arbitration Agreement, which Associates reviewed and agreed.
  11          14.    Both the sixth screen of the Arbitration Module (page 6 of Exhibit C)
  12   and the final paragraph of the 2013 Arbitration Agreement presented to the Associate
  13   (page 3 of Exhibit E) stated in bold, capital letters:
  14          BY CLICKING THE “I ACCEPT” BUTTON BELOW, I
              ACKNOWLEDGE THAT I HAVE CAREFULLY READ AND
  15
              UNDERSTAND THIS AGREEMENT AND AGREE TO ITS
  16          TERMS. I AGREE THAT THROUGH THIS AGREEMENT,
              THE COMPANY AND I ARE GIVING UP OUR RIGHTS TO A
  17
              JURY TRIAL AND THAT PURSUANT TO THE TERMS OF
  18          THIS AGREEMENT; WE ARE AGREEING TO ARBITRATE
              DISPUTES COVERED BY THIS AGREEMENT. I FURTHER
  19
              UNDERSTAND AND AGREE TO THE USE OF AN
  20          ELECTRONIC    METHOD     OF    SIGNATURE    TO
  21          DEMONSTRATE MY ACCEPTANCE AND AGREEMENT TO
              THE TERMS OF THIS AGREEMENT.
  22
  23          15.    The sixth screen of the Arbitration Module (page 6 of Exhibit C), had a
  24   button labeled “I ACCEPT” just beneath the bolded acknowledgement. Once the
  25   Associate clicked the “I ACCEPT” button, FDU made a record of the date and time
  26   that the Associate accepted the 2013 Arbitration Agreement and completed the
  27   module, which was then stored and retained. This is reflected in the seventh screen
  28   of the Arbitration Module (page 7 of Exhibit C).

                                                         DECLARATION OF MATTHEW BROEL ISO
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   1          16.    Attached hereto as Exhibit F is a true and correct copy of an excerpt of
   2   Mr. Bouldin’s FDU records, created and maintained in the ordinary course of Family
   3   Dollar’s business at or near the time of the acts, conditions, or events recorded. The
   4   records show he completed the Arbitration Module, which means he agreed to and
   5   accepted the 2013 Arbitration Agreement, on October 7, 2013 at 04:58:00 p.m.
   6          17.    Attached hereto as Exhibit G is a true and correct copy of an excerpt of
   7   Ms. Lee’s FDU records, created and maintained in the ordinary course of Family
   8   Dollar’s business at or near the time of the acts, conditions, or events recorded. The
   9   records show she completed the Arbitration Module, which means she agreed to and
  10   accepted the 2013 Arbitration Agreement, on October 18, 2013 at 11:52:47 a.m.
  11                    2020 ARBITRATION AGREEMENT PROCESS
  12          18.    In my role, I am also familiar with how communications are distributed
  13   to Family Dollar stores. Specifically, I am familiar with the dissemination of a
  14   message and flyer to Family Dollar store management regarding an updated
  15   arbitration agreement in October 2020 (the “2020 Arbitration Agreement”).
  16          19.    In 2020, Family Dollar used “Project Manager” on the Family Dollar
  17   portal to communicate with and assign tasks to store management. Managers were
  18   required to check Project Manager on a daily basis to look for new messages and
  19   tasks. Project Manager creates and saves a copy of the tasks assigned in the ordinary
  20   course of its operations at or near the time of the acts, conditions, or events recorded
  21   therein.
  22          20.    On October 26, 2020, a message was sent to all Store Managers
  23   regarding the 2020 Arbitration Agreement through Project Manager and stores were
  24   assigned the task of posting a notice titled “Announcing a New 2020 Arbitration
  25   Agreement.”
  26          21.    This task was given an identification number 1011739 (“TASK_ID”).
  27   A true and correct copy of the document to be posted is attached as Exhibit H.
  28
                                                        DECLARATION OF MATTHEW BROEL ISO
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   1          22.    The October 26, 2020 task required each store to print the document,
   2   post it in the break area of the store, and click "Done" after doing so.
   3          23.    Family Dollar's records show that Ms. Lee worked at Store 11527 in
   4   October 2020. For Store 11527, a manager checked off the "Done" box on October
   5   27, 2020, indicating that the task had been completed.                         This is reflected and
   6   memorialized by the screenshot of information from Project Manager with
   7   information that TASK_ID 1011739 was "Completed" on "2020-10-27", of which a
   8   true and correct copy is attached as Exhibit I.
   9          24.    Family Dollar's records show that Ms. Stallings worked at Store 9182
  10   in October 2020. For Store 9182, a manager checked off the "Done" box on October
  11   27, 2020, indicating that the task had been completed.                         This is reflected and
  12   memorialized by the screenshot of information from Project Manager with
  13   information that TASK_ID 1011739 was "Completed" on "2020-10-27", of which a
  14   true and correct copy is attached as Exhibit J.
  15          25.    Family Dollar's records show that Ms. Simmons worked at Store
  16   10254 in October 2020. For Store 10254, a manager checked off the "Done" box
  17   on October 27, 2020, indicating that the task had been completed. This is reflected
  18   and memorialized by the screenshot of information from Project Manager with
  19   information that TASK_ ID 101173 9 was "Completed" on "2020-10-27", of which a
  20   true and correct copy is attached as Exhibit K.
  21          26.    Family Dollar's records show that Ms. Lee, Ms. Stallings, and Ms.
  22   Simmons remained employed by Family Dollar after December 10, 2020.
  23          I declare under penalty of perjury under the laws of the United States that th
  24   above statements are true and co~r,t.
  25          Executed this    2- day of ...;../l1.....1t1t_'-------,,
  26
  27
  28
                                                                         DECLARATION OF MATTHEW BRO EL ISO
         Case No. 2:22-CV-01410-GW-JC                    -6-               MOTION TO COMPEL ARBITRATION &
                                                                                     STA Y ALL PROCEEDINGS
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                        EXHIBIT A




                                EXHIBIT A, Page 7
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                                                                  Htfl1   fflOJl!e.f,
                                                                             my amily dollar.~



August 9, 2013




             70 2 15279 *************AUTO**3-DIGIT 923
             Mark T Bouldin


             TFDTFDADDFDATTFTDDDTDTATAFTTFTDTDATDAATAFAAFDATTTFFDFAFFTFDTTFADT

Re: Open Door Communication Guidelines/Mutual Agreement to Arbitrate Claims
Dear Mark T Bouldin:
Family Dollar is pleased to provide to you with copies of its Open Door Communication Guidelines (“Open Door Guidelines”)
and its Mutual Agreement to Arbitrate Claims (“Arbitration Agreement”). These apply to how you and Family Dollar resolve
employment-related disputes.
The Open Door Guidelines provide Team Members with a process for resolving workplace concerns by working with their
chain of leadership and our Human Resources department. We are convinced that a full internal review of differences is the
quickest and most productive way to resolve these disputes. It also maintains good working relationships and avoids
unnecessary confrontations.
Although the Company urges employees to participate in the Open Door Process, which many times will resolve employment-
related disputes amicably and fairly, the Company also has an Arbitration Agreement, which will be rolled out beginning on
June 17, 2013. The Open Door Guidelines is separate from the Arbitration Agreement.
The Arbitration Agreement is a stand-alone and binding agreement that will apply company-wide. We hope that you and
Family Dollar will not have legal disputes in connection with your employment, and if such disputes do arise, we hope that
they can be resolved informally through the Open Door Policy. However, if an employment-related dispute cannot be
resolved, or should you or Family Dollar decide at any time to pursue covered employment-related legal disputes against the
other, such disputes must be resolved individually in arbitration--not by way of a judge or jury. The Arbitration Agreement
requires both you and Family Dollar to arbitrate covered disputes, as defined in the Arbitration Agreement, before a private
and neutral third-party chosen by the Team Member and Family Dollar.
Again, a copy of the Arbitration Agreement is included with this letter. Further, Family Dollar is providing access to an online
learning course (OLC) through the company’s Learning Management System that will explain the Open Door process and
Arbitration Agreement in more detail. Please work with your manager to complete the OLC at your work location, and
electronically sign the Arbitration Agreement by August 30, 2013.
If you have any questions about the OLC, Open Door Policy or Arbitration Agreement, please contact the HR Service Center by
visiting the My Family Dollar Life page from work or signing into MyFamilyDollarLife.com. In the Ask HR box, click Ask HR and
View My Questions to submit your question. You may also call 1-866-377-6420. HR Service Center representatives are
available Monday-Friday 8 a.m. to 10 p.m. Eastern time.
Si desea una copia en español de esta carta y del Acuerdo de Arbitraje adjunto, por favor, contacte al Centro de Servicio de
Recursos Humanos, visitando la página de internet My Family Dollar Life desde su lugar de trabajo o desde su casa a través de
MyFamilyDollar.com. En el cuadro Ask HR, haga clic en Ask HR and View My Questions. Además, puede llamar al Centro de
Servicio de Recursos Humanos al 1-866-377-6420. Los representantes del Centro de Servicio de Recursos Humanos están
disponibles de lunes a viernes de 8 a.m. a 10 p.m. hora del este.
Sincerely,


Bryan Venberg
Senior Vice President, Human Resources
Family Dollar                                                        EXHIBIT A, Page 8
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,AMILY D>LlAR                                             

 
 OpenDoorGuidelines
 
 FamilyDollar’sOpenDoorGuidelinesprovideTeamMemberswithaprocessforexpressingtheirworkͲrelated
 concernswiththeirleadershipteam.FamilyDollar’sleadershipteammaintainsanenvironmentofopennessand
 mutualsupport.ATeamMembermaycontactamemberofleadershiptodiscussconcernseitherverballyorin
 writing,inthefollowingorder:
 
     1. Supervisor/Manager:TeamMembersareencouragedtofirstcontacttheirimmediateSupervisor/Manager
          toresolveworkͲrelatedconcerns.
          
     2. NextͲLevelManager:IftheTeamMemberandtheirSupervisor/Managercannotresolvetheconcern,orthe
          TeamMemberisuncomfortableapproachingtheirSupervisor/Manager,theTeamMembermaypursuethe
          matterwiththenextlevel(s)ofleadership.
          
     3. HumanResourcesRepresentative:IftheTeamMemberandtheirchainofleadershipcannotresolvethe
          concern,ortheTeamMemberisuncomfortableapproachingtheirchainofleadership,theTeamMember
          maypursuethematterwiththeirworklocation’sHRrepresentative.
          
     4. WrittenAppeal:IfaTeamMemberisnotsatisfiedwiththeoutcomethroughtheaboveprocess,theTeam
          Memberhas21daystosubmitawrittenappealtoTeamRelationsatFamilyDollar,Inc.,ATTN:Team
          Relations,POBox1017,Charlotte,NorthCarolina28201Ͳ1017,whichwillbereviewedbytheHRDivisional
          VicePresidentorHRVicePresidentoftheappropriatelineofbusiness.Ifthematterisnotappealedin
          writing,thedecisionisfinal.
                                                          




                                              EXHIBIT  A, Page 9
                                               OpenDoorGuidelines

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                                    FAMILY DOLLAR, INC.
                           MUTUAL AGREEMENT TO ARBITRATE CLAIMS
1. INTRODUCTION: This Mutual Agreement to Arbitrate                  the Worker Adjustment Retraining and Notification Act, the
Claims (“Agreement”) is between me and Family Dollar, Inc.           Fair Labor Standards Act, and any amendments to these laws,
(the “Company”). Any reference to Company will be a                  and any such related or similar state or local laws, (v) any
reference also to Company’s parents, subsidiaries, partners,         federal, state or local law or common law doctrine for breach
divisions, and affiliated entities, and all successors and assigns   of contract, promissory estoppel, wrongful discharge or
of any of them. The Federal Arbitration Act (9 U.S.C. § 1 et         conversion, (vi) claims for interference with rights under the
seq.) shall govern this Agreement, which evidences a                 Employee Retirement Income Security Act of 1974, as
transaction involving commerce, and the Company and I agree          amended (“ERISA”), or other claims concerning
that the Company is engaged in transactions involving                administration of ERISA plans not excluded below, and (vii)
interstate commerce.         All disputes covered by this            claims under federal or state law regarding wages (including
Agreement between me and the Company shall be decided                without limitation claims for pay, minimum wage and
by an arbitrator through arbitration and not by way of               overtime), wage penalties, meal and rest breaks, classification,
court or jury trial.                                                 reimbursement of expenses, compensation, stock or incentive
                                                                     bonus plans, or intellectual property rights and associated
2. DISPUTES COVERED BY THE AGREEMENT: The                            laws.
Company and I mutually consent and agree to the resolution
by arbitration of all claims or controversies, past, present or      3. CLAIMS NOT COVERED BY THE AGREEMENT: I
future (“Disputes”), including without limitation, claims            agree that the following claims are not considered as a covered
arising out of or related to my application for                      Dispute and are excluded under the Agreement: (i) Workers’
assignment/employment, assignment/employment, and/or the             Compensation benefit claims; (ii) state unemployment or
termination of my assignment/employment that the Company             disability insurance compensation claims; (iii) claims for
may have against me or that I may have against any of the            benefits under employee benefit plans covered by ERISA that
following: (1) the Company, (2) its officers, directors,             contain an appeal procedure or other exclusive and/or binding
employees, or agents in their capacity as such or otherwise, (3)     dispute resolution procedure in the respective plan; (iv) claims
the Company's parent, subsidiary, and affiliated entities, (4)       under the National Labor Relations Act within the jurisdiction
the benefit plans or the plans' sponsors, fiduciaries,               of the National Labor Relations Board; and (v) claims that the
administrators, affiliates, and agents, and/or (5) all successors    Dodd-Frank Wall Street Reform and Consumer Protection Act
and assigns of any of them.                                          or other controlling federal statutes bar from the coverage of
                                                                     mandatory pre-dispute arbitration agreements.
Further, covered Disputes include any claim or controversy
regarding the Agreement or any portion of the Agreement or           The Company and I may apply to a court of competent
its      interpretation,     enforceability,     applicability,      jurisdiction for temporary or preliminary injunctive relief in
unconscionability, arbitrability or formation, or whether the        connection with an arbitrable controversy, but only upon the
Agreement or any portion of the Agreement is void or                 ground that the award to which that party may be entitled
voidable, with the exception noted in section 7, below, the          would be ineffectual without such provisional relief; provided,
“Class Action Waiver.”                                               however, that all issues of final relief shall be decided in
                                                                     arbitration, and the pursuit of the temporary or preliminary
Except as otherwise provided, this Agreement covers the              injunctive relief described herein shall not constitute a waiver
following legal claims that either the Company or I could            of rights under this Agreement.
bring arising out of or relating to my employment relationship
with the Company, including, but not limited to: (i)                 Pending Claims: This Agreement does not apply to any civil
discrimination based on race, creed, color, religion, sex, age,      lawsuit that was already filed by the Company or filed by me
disability, leave status, national origin, ancestry, sexual          or on my behalf (whether individually or as a member of a
orientation, marital status, veteran or military reserve status,     class) (“Pending Claims”) prior to the date that this Agreement
privacy or any other characteristic protected by federal, state      is signed by me. However, this Agreement does apply to any
or local law, (ii) retaliation, including, but not limited to,       civil lawsuit or other covered Dispute which is filed after I
whistleblower status or retaliation for filing a workers'            sign this Agreement. This Agreement also applies to any civil
compensation claim, (iii) torts, including, but not limited to,      lawsuit that was filed before I began my employment with the
defamation, invasion of privacy, infliction of emotional             Company, including without limitation civil lawsuits alleging
distress, or workplace injury not otherwise covered by               class or collective claims on behalf of employees.
applicable workers' compensation laws, (iv) all employment
related laws, including, but not limited to, Title VII of the        4. HOW TO INITIATE ARBITRATION OF COVERED
Civil Rights Act, the Civil Rights Acts and amendments of            DISPUTES: The Company and I agree that the aggrieved
1866, 1871 and 1991, the Age Discrimination in Employment            party must make a written “Request for Arbitration” of any
Act, the Older Workers Benefit Protection Act, the Americans         claim to the other party no later than the expiration of the
with Disabilities Act, the Equal Pay Act, Genetic Information        statute of limitations (deadline for filing) that applicable state
Nondiscrimination Act, the Family and Medical Leave Act,             or federal law prescribes for the claim. The parties are

                                                                                                                  
                                  EXHIBIT A, Page 10
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                                PAGE 1 OF 3
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encouraged to make written Request for Arbitration of any          7. REPRESENTATION: Any party may be represented by
claim as soon as possible after the event or events in dispute     an attorney selected by the party. I understand and agree that I
so that arbitration of any differences may take place promptly.    have been given the opportunity to discuss this Agreement
                                                                   with my private legal counsel and have availed myself of that
Written Request for Arbitration to the Company, or its             opportunity to the extent I wish to do so.
officers, directors, employees or agents, shall be sent to its
home office, currently at: Arbitration Intake, Family Dollar,      8. PROCEDURES AND RULES: The parties shall select
PO Box 1017, Charlotte, NC 28201, to the attention of the          the neutral arbitrator and/or arbitration sponsoring
Office of General Counsel. I will be given written Request for     organization by mutual agreement.
Arbitration at the last home address I provided in writing to
the Company. The Request for Arbitration shall, unless              If the parties are not able to mutually agree to an arbitrator
otherwise required by law, clearly state “Request for              and/or arbitration sponsoring organization, the arbitration will
Arbitration”. The Request for Arbitration shall be sent to the     be held under the auspices of the American Arbitration
other party by certified or registered mail, return receipt        Association (“AAA”), and except as provided in this
requested, and first class mail.                                   Agreement, shall be in accordance with the then current
                                                                   Employment Arbitration Rules of the AAA (“AAA Rules”)
5. THE ROLE OF ADMINISTRATIVE AGENCIES:                            (the AAA Rules are available through the Company’s Human
Disputes may be brought before an administrative agency to         Resources      Department      or    via    the    internet    at
the extent applicable law permits access to an agency              www.adr.org/employment). Unless the parties jointly agree
notwithstanding an agreement to arbitrate covered Disputes,        otherwise, the Arbitrator shall be either an attorney who is
including, but not limited to, claims or charges brought before    experienced in employment law and licensed to practice law in
the Equal Employment Opportunity Commission, the U.S.              the state in which the arbitration is convened, or a retired
Department of Labor, the National Labor Relations Board and        judge from any jurisdiction (the "Arbitrator"). Unless the
the Office of Federal Contract Compliance Programs.                parties jointly agree otherwise, the arbitration shall take place
Nothing in the Agreement shall be construed to: (i) relieve any    in or near the city in which I am or was last employed by the
party of the duty to exhaust administrative remedies by filing a   Company.
charge or complaint with an administrative agency and
obtaining a right to sue notice, where otherwise required by       In the event the parties mutually choose a sponsoring
law, or (ii) prevent either party from cooperating with a          organization, or AAA is designated, the Arbitrator shall be
federal or state body as required by law. The Company will         selected as follows: The organization selected shall give each
not retaliate against me for filing a claim with an                party a list of eleven (11) arbitrators drawn from its panel of
administrative agency.                                             arbitrators. Each party shall have ten (10) calendar days from
                                                                   the postmark date on the list to strike all names on the list it
6.      CLASS AND REPRESENTATIVE ACTION                            deems unacceptable. If only one common name remains on
WAIVERS: THE COMPANY AND I HEREBY WAIVE                            the lists of all parties, that individual shall be designated as the
ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT,                           Arbitrator. If more than one common name remains on the
HEARD, DECIDED OR ARBITRATED AS A CLASS                            lists of all parties, the parties shall strike names alternately
AND/OR COLLECTIVE ACTION (“Class Action                            from the list of common names until only one remains, with
Waiver”). Notwithstanding any other clause contained in            the party to strike first to be determined by a coin toss. If no
this Agreement, the preceding sentence shall not be                common name remains on the lists of all parties, the selected
severable from this Agreement in any instance in which             organization shall furnish an additional list of eleven (11)
the Dispute is brought as a class and/or collective action.        arbitrators from which the parties shall strike alternately, with
THE COMPANY AND I ALSO HEREBY WAIVE ANY                            the party striking first to be determined by a coin toss, until
RIGHT FOR ANY DISPUTE TO BE BROUGHT,                               only one name remains. That person shall be designated as
HEARD, DECIDED OR ARBITRATED AS A                                  the Arbitrator.
REPRESENTATIVE ACTION (“Representative Action
Waiver”). However, this Representative Action Waiver may           9. DISCOVERY AND SUBPOENAS: Each party shall at a
be severed if it would otherwise render this Agreement             minimum have the right to take the deposition of one
unenforceable in any action brought under a private attorneys      individual and any expert witness designated by another party.
general law, and following severance the representative action     Each party also shall have the right to propound requests for
may be brought in a court of law.                                  production of documents to any party. Additional discovery
                                                                   may be had by mutual agreement of the parties or where the
Notwithstanding any other clause contained in this                 Arbitrator selected so orders pursuant to a request by either
Agreement, any claim that this Class Action Waiver or              party. Each party shall have the right to subpoena witnesses
Representative Action Waiver, or any portion of this Class         and documents for the arbitration, as well as documents
Action Waiver or Representative Action Waiver, is                  relevant to the case from third parties.
unenforceable, inapplicable, unconscionable, or void or
voidable, shall be determined only by a court of competent         10. ARBITRATION FEES AND COSTS: The Company
jurisdiction and not by an arbitrator.                             shall pay the fees and costs of the Arbitrator and/or that are
                                                                   assessed by the organization through which the arbitration is
                                                                   conducted.
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                                  EXHIBIT A, Page 11
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                               PAGE 2 OF 3
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Each party shall pay for its own costs and attorneys' fees, if       12. JUDICIAL REVIEW: Judicial review shall be
any. However, if any party prevails on a claim which affords         governed by the Federal Arbitration Act. 9 U.S.C. §§ 9-11.
the prevailing party attorneys' fees, or if there is a written       The decision of the Arbitrator may be entered and enforced as
agreement providing for fees, the Arbitrator may award               a final judgment in any court of competent jurisdiction.
reasonable fees to the prevailing party as provided by law. In
the event the law (including the common law) of the                  13. CONSTRUCTION: Except as provided in section 6,
jurisdiction in which the arbitration is held requires a different   “Class and Representative Action Waivers” above, if any
allocation of arbitral fees and costs in order for this Agreement    provision of this Agreement is adjudged to be void, voidable
to be enforceable, then such law shall be followed.                  or otherwise unenforceable, in whole or in part, such provision
                                                                     shall, without affecting the validity of the remainder of the
11. JURISDICTION OF ARBITRATOR:                                      Agreement, be: (i) modified to the extent necessary to render
                                                                     such term or provision enforceable preserving to the fullest
    a)   The Arbitrator may award to me or the Company any           extent possible the intent and agreements herein, or (ii) to the
         remedy to which that party is entitled under                extent such modification is not permissible, severed from this
         applicable law (including, but not limited to, legal,       Agreement. All remaining provisions shall remain in full
         equitable and injunctive relief), but such remedies are     force and effect. A waiver of one or more provisions of this
         limited to those that would be available to a party in      Agreement by any party shall not be a waiver of the entire
         his or her individual capacity in a court of law for the    Agreement or any other provision of the Agreement.
         Disputes presented to and decided by the Arbitrator.
         The Arbitrator shall apply the substantive law of the       14. CONSIDERATION: I and the Company agree that the
         state in which the claim arose, or federal law, or both,    mutual obligations by the Company and me to arbitrate
         as applicable to the claims asserted. The Arbitrator is     Disputes, and my employment and/or continued employment,
         without jurisdiction to apply any different substantive     and the Company’s payment of fees and costs of the arbitrator
         law.                                                        and/or that are assessed by the organization through which the
                                                                     arbitration is conducted (including my filing fee) provide
    b) The Arbitrator shall have jurisdiction to hear and rule       adequate consideration for this Agreement.
       on pre-hearing disputes and is authorized to hold
       prehearing conferences by telephone or in person, as          15. AT WILL EMPLOYMENT: I understand and agree
       the Arbitrator deems necessary. The Arbitrator shall          that this Agreement does not in any way alter the “at-will”
       have the authority to hear and decide dispositive             status of my employment.
       motions, and/or a motion to dismiss and/or a motion
       for summary judgment by any party and shall apply             16. SOLE AND ENTIRE AGREEMENT: I agree that this
       the standards governing such motions under the                is the complete agreement of the parties on the subject of
       Federal Rules of Civil Procedure. Should any party            arbitration of Disputes. This Agreement shall survive the
       refuse or neglect to appear for, or participate in, the       termination of my employment and the expiration of any
       arbitration hearing, the Arbitrator shall have the            benefit. No party is relying on any representations, oral or
       authority to decide the dispute based upon whatever           written, on the subject of the effect, enforceability, or meaning
       evidence is then before him or her.                           of this Agreement, except as specifically set forth in this
                                                                     Agreement.       This Agreement does not supersede any
    c)   The Arbitrator shall render an award by written             restrictive covenant(s) or confidentiality obligations
         opinion no later than 30 days from the date the             previously entered into by me and the Company.
         arbitration hearing concludes or the post-hearing
         briefs (if requested) are received, whichever is later,
         unless the parties agree otherwise. The opinion shall
         be in writing and include the factual and legal basis
         for the decision.




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                                  EXHIBIT A, Page 12
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                               PAGE 3 OF 3
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                         EXHIBIT B




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                                                                             my amily dollar.~



August 9, 2013




             9 1 2354 **********AUTO**MIXED AADC 300
             Ashley S Lee


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Re: Open Door Communication Guidelines/Mutual Agreement to Arbitrate Claims
Dear Ashley S Lee:
Family Dollar is pleased to provide to you with copies of its Open Door Communication Guidelines (“Open Door Guidelines”)
and its Mutual Agreement to Arbitrate Claims (“Arbitration Agreement”). These apply to how you and Family Dollar resolve
employment-related disputes.
The Open Door Guidelines provide Team Members with a process for resolving workplace concerns by working with their
chain of leadership and our Human Resources department. We are convinced that a full internal review of differences is the
quickest and most productive way to resolve these disputes. It also maintains good working relationships and avoids
unnecessary confrontations.
Although the Company urges employees to participate in the Open Door Process, which many times will resolve employment-
related disputes amicably and fairly, the Company also has an Arbitration Agreement, which will be rolled out beginning on
June 17, 2013. The Open Door Guidelines is separate from the Arbitration Agreement.
The Arbitration Agreement is a stand-alone and binding agreement that will apply company-wide. We hope that you and
Family Dollar will not have legal disputes in connection with your employment, and if such disputes do arise, we hope that
they can be resolved informally through the Open Door Policy. However, if an employment-related dispute cannot be
resolved, or should you or Family Dollar decide at any time to pursue covered employment-related legal disputes against the
other, such disputes must be resolved individually in arbitration--not by way of a judge or jury. The Arbitration Agreement
requires both you and Family Dollar to arbitrate covered disputes, as defined in the Arbitration Agreement, before a private
and neutral third-party chosen by the Team Member and Family Dollar.
Again, a copy of the Arbitration Agreement is included with this letter. Further, Family Dollar is providing access to an online
learning course (OLC) through the company’s Learning Management System that will explain the Open Door process and
Arbitration Agreement in more detail. Please work with your manager to complete the OLC at your work location, and
electronically sign the Arbitration Agreement by August 30, 2013.
If you have any questions about the OLC, Open Door Policy or Arbitration Agreement, please contact the HR Service Center by
visiting the My Family Dollar Life page from work or signing into MyFamilyDollarLife.com. In the Ask HR box, click Ask HR and
View My Questions to submit your question. You may also call 1-866-377-6420. HR Service Center representatives are
available Monday-Friday 8 a.m. to 10 p.m. Eastern time.
Si desea una copia en español de esta carta y del Acuerdo de Arbitraje adjunto, por favor, contacte al Centro de Servicio de
Recursos Humanos, visitando la página de internet My Family Dollar Life desde su lugar de trabajo o desde su casa a través de
MyFamilyDollar.com. En el cuadro Ask HR, haga clic en Ask HR and View My Questions. Además, puede llamar al Centro de
Servicio de Recursos Humanos al 1-866-377-6420. Los representantes del Centro de Servicio de Recursos Humanos están
disponibles de lunes a viernes de 8 a.m. a 10 p.m. hora del este.
Sincerely,


Bryan Venberg
Senior Vice President, Human Resources
Family Dollar                                                       EXHIBIT B, Page 14
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,AMILY D>LlAR                                             

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 OpenDoorGuidelines
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 FamilyDollar’sOpenDoorGuidelinesprovideTeamMemberswithaprocessforexpressingtheirworkͲrelated
 concernswiththeirleadershipteam.FamilyDollar’sleadershipteammaintainsanenvironmentofopennessand
 mutualsupport.ATeamMembermaycontactamemberofleadershiptodiscussconcernseitherverballyorin
 writing,inthefollowingorder:
 
     1. Supervisor/Manager:TeamMembersareencouragedtofirstcontacttheirimmediateSupervisor/Manager
          toresolveworkͲrelatedconcerns.
          
     2. NextͲLevelManager:IftheTeamMemberandtheirSupervisor/Managercannotresolvetheconcern,orthe
          TeamMemberisuncomfortableapproachingtheirSupervisor/Manager,theTeamMembermaypursuethe
          matterwiththenextlevel(s)ofleadership.
          
     3. HumanResourcesRepresentative:IftheTeamMemberandtheirchainofleadershipcannotresolvethe
          concern,ortheTeamMemberisuncomfortableapproachingtheirchainofleadership,theTeamMember
          maypursuethematterwiththeirworklocation’sHRrepresentative.
          
     4. WrittenAppeal:IfaTeamMemberisnotsatisfiedwiththeoutcomethroughtheaboveprocess,theTeam
          Memberhas21daystosubmitawrittenappealtoTeamRelationsatFamilyDollar,Inc.,ATTN:Team
          Relations,POBox1017,Charlotte,NorthCarolina28201Ͳ1017,whichwillbereviewedbytheHRDivisional
          VicePresidentorHRVicePresidentoftheappropriatelineofbusiness.Ifthematterisnotappealedin
          writing,thedecisionisfinal.
                                                          




                                             EXHIBIT B, Page 15
                                              OpenDoorGuidelines
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                                    FAMILY DOLLAR, INC.
                           MUTUAL AGREEMENT TO ARBITRATE CLAIMS
1. INTRODUCTION: This Mutual Agreement to Arbitrate                  the Worker Adjustment Retraining and Notification Act, the
Claims (“Agreement”) is between me and Family Dollar, Inc.           Fair Labor Standards Act, and any amendments to these laws,
(the “Company”). Any reference to Company will be a                  and any such related or similar state or local laws, (v) any
reference also to Company’s parents, subsidiaries, partners,         federal, state or local law or common law doctrine for breach
divisions, and affiliated entities, and all successors and assigns   of contract, promissory estoppel, wrongful discharge or
of any of them. The Federal Arbitration Act (9 U.S.C. § 1 et         conversion, (vi) claims for interference with rights under the
seq.) shall govern this Agreement, which evidences a                 Employee Retirement Income Security Act of 1974, as
transaction involving commerce, and the Company and I agree          amended (“ERISA”), or other claims concerning
that the Company is engaged in transactions involving                administration of ERISA plans not excluded below, and (vii)
interstate commerce.         All disputes covered by this            claims under federal or state law regarding wages (including
Agreement between me and the Company shall be decided                without limitation claims for pay, minimum wage and
by an arbitrator through arbitration and not by way of               overtime), wage penalties, meal and rest breaks, classification,
court or jury trial.                                                 reimbursement of expenses, compensation, stock or incentive
                                                                     bonus plans, or intellectual property rights and associated
2. DISPUTES COVERED BY THE AGREEMENT: The                            laws.
Company and I mutually consent and agree to the resolution
by arbitration of all claims or controversies, past, present or      3. CLAIMS NOT COVERED BY THE AGREEMENT: I
future (“Disputes”), including without limitation, claims            agree that the following claims are not considered as a covered
arising out of or related to my application for                      Dispute and are excluded under the Agreement: (i) Workers’
assignment/employment, assignment/employment, and/or the             Compensation benefit claims; (ii) state unemployment or
termination of my assignment/employment that the Company             disability insurance compensation claims; (iii) claims for
may have against me or that I may have against any of the            benefits under employee benefit plans covered by ERISA that
following: (1) the Company, (2) its officers, directors,             contain an appeal procedure or other exclusive and/or binding
employees, or agents in their capacity as such or otherwise, (3)     dispute resolution procedure in the respective plan; (iv) claims
the Company's parent, subsidiary, and affiliated entities, (4)       under the National Labor Relations Act within the jurisdiction
the benefit plans or the plans' sponsors, fiduciaries,               of the National Labor Relations Board; and (v) claims that the
administrators, affiliates, and agents, and/or (5) all successors    Dodd-Frank Wall Street Reform and Consumer Protection Act
and assigns of any of them.                                          or other controlling federal statutes bar from the coverage of
                                                                     mandatory pre-dispute arbitration agreements.
Further, covered Disputes include any claim or controversy
regarding the Agreement or any portion of the Agreement or           The Company and I may apply to a court of competent
its      interpretation,     enforceability,     applicability,      jurisdiction for temporary or preliminary injunctive relief in
unconscionability, arbitrability or formation, or whether the        connection with an arbitrable controversy, but only upon the
Agreement or any portion of the Agreement is void or                 ground that the award to which that party may be entitled
voidable, with the exception noted in section 7, below, the          would be ineffectual without such provisional relief; provided,
“Class Action Waiver.”                                               however, that all issues of final relief shall be decided in
                                                                     arbitration, and the pursuit of the temporary or preliminary
Except as otherwise provided, this Agreement covers the              injunctive relief described herein shall not constitute a waiver
following legal claims that either the Company or I could            of rights under this Agreement.
bring arising out of or relating to my employment relationship
with the Company, including, but not limited to: (i)                 Pending Claims: This Agreement does not apply to any civil
discrimination based on race, creed, color, religion, sex, age,      lawsuit that was already filed by the Company or filed by me
disability, leave status, national origin, ancestry, sexual          or on my behalf (whether individually or as a member of a
orientation, marital status, veteran or military reserve status,     class) (“Pending Claims”) prior to the date that this Agreement
privacy or any other characteristic protected by federal, state      is signed by me. However, this Agreement does apply to any
or local law, (ii) retaliation, including, but not limited to,       civil lawsuit or other covered Dispute which is filed after I
whistleblower status or retaliation for filing a workers'            sign this Agreement. This Agreement also applies to any civil
compensation claim, (iii) torts, including, but not limited to,      lawsuit that was filed before I began my employment with the
defamation, invasion of privacy, infliction of emotional             Company, including without limitation civil lawsuits alleging
distress, or workplace injury not otherwise covered by               class or collective claims on behalf of employees.
applicable workers' compensation laws, (iv) all employment
related laws, including, but not limited to, Title VII of the        4. HOW TO INITIATE ARBITRATION OF COVERED
Civil Rights Act, the Civil Rights Acts and amendments of            DISPUTES: The Company and I agree that the aggrieved
1866, 1871 and 1991, the Age Discrimination in Employment            party must make a written “Request for Arbitration” of any
Act, the Older Workers Benefit Protection Act, the Americans         claim to the other party no later than the expiration of the
with Disabilities Act, the Equal Pay Act, Genetic Information        statute of limitations (deadline for filing) that applicable state
Nondiscrimination Act, the Family and Medical Leave Act,             or federal law prescribes for the claim. The parties are

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                                  EXHIBIT B, Page 16
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                                PAGE 1 OF 3
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encouraged to make written Request for Arbitration of any          7. REPRESENTATION: Any party may be represented by
claim as soon as possible after the event or events in dispute     an attorney selected by the party. I understand and agree that I
so that arbitration of any differences may take place promptly.    have been given the opportunity to discuss this Agreement
                                                                   with my private legal counsel and have availed myself of that
Written Request for Arbitration to the Company, or its             opportunity to the extent I wish to do so.
officers, directors, employees or agents, shall be sent to its
home office, currently at: Arbitration Intake, Family Dollar,      8. PROCEDURES AND RULES: The parties shall select
PO Box 1017, Charlotte, NC 28201, to the attention of the          the neutral arbitrator and/or arbitration sponsoring
Office of General Counsel. I will be given written Request for     organization by mutual agreement.
Arbitration at the last home address I provided in writing to
the Company. The Request for Arbitration shall, unless              If the parties are not able to mutually agree to an arbitrator
otherwise required by law, clearly state “Request for              and/or arbitration sponsoring organization, the arbitration will
Arbitration”. The Request for Arbitration shall be sent to the     be held under the auspices of the American Arbitration
other party by certified or registered mail, return receipt        Association (“AAA”), and except as provided in this
requested, and first class mail.                                   Agreement, shall be in accordance with the then current
                                                                   Employment Arbitration Rules of the AAA (“AAA Rules”)
5. THE ROLE OF ADMINISTRATIVE AGENCIES:                            (the AAA Rules are available through the Company’s Human
Disputes may be brought before an administrative agency to         Resources      Department      or    via    the    internet    at
the extent applicable law permits access to an agency              www.adr.org/employment). Unless the parties jointly agree
notwithstanding an agreement to arbitrate covered Disputes,        otherwise, the Arbitrator shall be either an attorney who is
including, but not limited to, claims or charges brought before    experienced in employment law and licensed to practice law in
the Equal Employment Opportunity Commission, the U.S.              the state in which the arbitration is convened, or a retired
Department of Labor, the National Labor Relations Board and        judge from any jurisdiction (the "Arbitrator"). Unless the
the Office of Federal Contract Compliance Programs.                parties jointly agree otherwise, the arbitration shall take place
Nothing in the Agreement shall be construed to: (i) relieve any    in or near the city in which I am or was last employed by the
party of the duty to exhaust administrative remedies by filing a   Company.
charge or complaint with an administrative agency and
obtaining a right to sue notice, where otherwise required by       In the event the parties mutually choose a sponsoring
law, or (ii) prevent either party from cooperating with a          organization, or AAA is designated, the Arbitrator shall be
federal or state body as required by law. The Company will         selected as follows: The organization selected shall give each
not retaliate against me for filing a claim with an                party a list of eleven (11) arbitrators drawn from its panel of
administrative agency.                                             arbitrators. Each party shall have ten (10) calendar days from
                                                                   the postmark date on the list to strike all names on the list it
6.      CLASS AND REPRESENTATIVE ACTION                            deems unacceptable. If only one common name remains on
WAIVERS: THE COMPANY AND I HEREBY WAIVE                            the lists of all parties, that individual shall be designated as the
ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT,                           Arbitrator. If more than one common name remains on the
HEARD, DECIDED OR ARBITRATED AS A CLASS                            lists of all parties, the parties shall strike names alternately
AND/OR COLLECTIVE ACTION (“Class Action                            from the list of common names until only one remains, with
Waiver”). Notwithstanding any other clause contained in            the party to strike first to be determined by a coin toss. If no
this Agreement, the preceding sentence shall not be                common name remains on the lists of all parties, the selected
severable from this Agreement in any instance in which             organization shall furnish an additional list of eleven (11)
the Dispute is brought as a class and/or collective action.        arbitrators from which the parties shall strike alternately, with
THE COMPANY AND I ALSO HEREBY WAIVE ANY                            the party striking first to be determined by a coin toss, until
RIGHT FOR ANY DISPUTE TO BE BROUGHT,                               only one name remains. That person shall be designated as
HEARD, DECIDED OR ARBITRATED AS A                                  the Arbitrator.
REPRESENTATIVE ACTION (“Representative Action
Waiver”). However, this Representative Action Waiver may           9. DISCOVERY AND SUBPOENAS: Each party shall at a
be severed if it would otherwise render this Agreement             minimum have the right to take the deposition of one
unenforceable in any action brought under a private attorneys      individual and any expert witness designated by another party.
general law, and following severance the representative action     Each party also shall have the right to propound requests for
may be brought in a court of law.                                  production of documents to any party. Additional discovery
                                                                   may be had by mutual agreement of the parties or where the
Notwithstanding any other clause contained in this                 Arbitrator selected so orders pursuant to a request by either
Agreement, any claim that this Class Action Waiver or              party. Each party shall have the right to subpoena witnesses
Representative Action Waiver, or any portion of this Class         and documents for the arbitration, as well as documents
Action Waiver or Representative Action Waiver, is                  relevant to the case from third parties.
unenforceable, inapplicable, unconscionable, or void or
voidable, shall be determined only by a court of competent         10. ARBITRATION FEES AND COSTS: The Company
jurisdiction and not by an arbitrator.                             shall pay the fees and costs of the Arbitrator and/or that are
                                                                   assessed by the organization through which the arbitration is
                                                                   conducted.
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MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                               PAGE 2 OF 3
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Each party shall pay for its own costs and attorneys' fees, if       12. JUDICIAL REVIEW: Judicial review shall be
any. However, if any party prevails on a claim which affords         governed by the Federal Arbitration Act. 9 U.S.C. §§ 9-11.
the prevailing party attorneys' fees, or if there is a written       The decision of the Arbitrator may be entered and enforced as
agreement providing for fees, the Arbitrator may award               a final judgment in any court of competent jurisdiction.
reasonable fees to the prevailing party as provided by law. In
the event the law (including the common law) of the                  13. CONSTRUCTION: Except as provided in section 6,
jurisdiction in which the arbitration is held requires a different   “Class and Representative Action Waivers” above, if any
allocation of arbitral fees and costs in order for this Agreement    provision of this Agreement is adjudged to be void, voidable
to be enforceable, then such law shall be followed.                  or otherwise unenforceable, in whole or in part, such provision
                                                                     shall, without affecting the validity of the remainder of the
11. JURISDICTION OF ARBITRATOR:                                      Agreement, be: (i) modified to the extent necessary to render
                                                                     such term or provision enforceable preserving to the fullest
    a)   The Arbitrator may award to me or the Company any           extent possible the intent and agreements herein, or (ii) to the
         remedy to which that party is entitled under                extent such modification is not permissible, severed from this
         applicable law (including, but not limited to, legal,       Agreement. All remaining provisions shall remain in full
         equitable and injunctive relief), but such remedies are     force and effect. A waiver of one or more provisions of this
         limited to those that would be available to a party in      Agreement by any party shall not be a waiver of the entire
         his or her individual capacity in a court of law for the    Agreement or any other provision of the Agreement.
         Disputes presented to and decided by the Arbitrator.
         The Arbitrator shall apply the substantive law of the       14. CONSIDERATION: I and the Company agree that the
         state in which the claim arose, or federal law, or both,    mutual obligations by the Company and me to arbitrate
         as applicable to the claims asserted. The Arbitrator is     Disputes, and my employment and/or continued employment,
         without jurisdiction to apply any different substantive     and the Company’s payment of fees and costs of the arbitrator
         law.                                                        and/or that are assessed by the organization through which the
                                                                     arbitration is conducted (including my filing fee) provide
    b) The Arbitrator shall have jurisdiction to hear and rule       adequate consideration for this Agreement.
       on pre-hearing disputes and is authorized to hold
       prehearing conferences by telephone or in person, as          15. AT WILL EMPLOYMENT: I understand and agree
       the Arbitrator deems necessary. The Arbitrator shall          that this Agreement does not in any way alter the “at-will”
       have the authority to hear and decide dispositive             status of my employment.
       motions, and/or a motion to dismiss and/or a motion
       for summary judgment by any party and shall apply             16. SOLE AND ENTIRE AGREEMENT: I agree that this
       the standards governing such motions under the                is the complete agreement of the parties on the subject of
       Federal Rules of Civil Procedure. Should any party            arbitration of Disputes. This Agreement shall survive the
       refuse or neglect to appear for, or participate in, the       termination of my employment and the expiration of any
       arbitration hearing, the Arbitrator shall have the            benefit. No party is relying on any representations, oral or
       authority to decide the dispute based upon whatever           written, on the subject of the effect, enforceability, or meaning
       evidence is then before him or her.                           of this Agreement, except as specifically set forth in this
                                                                     Agreement.       This Agreement does not supersede any
    c)   The Arbitrator shall render an award by written             restrictive covenant(s) or confidentiality obligations
         opinion no later than 30 days from the date the             previously entered into by me and the Company.
         arbitration hearing concludes or the post-hearing
         briefs (if requested) are received, whichever is later,
         unless the parties agree otherwise. The opinion shall
         be in writing and include the factual and legal basis
         for the decision.




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                         EXHIBIT C




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Introduction
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                                                              Open Door and Arbitration at Family Donar


             Purp,ose
               The purpose of this earning module is to teH you about Family Dolrar s rev·sed Open Door GuideUnes
                                                                                                    1


               and the Mutual Agreement to Arbitrate Claims {Arbitration Agreement).

               The Open Door Guidelines provide the process by iVhich you can resolve your workplace concerns
               iVithin the company through your direct chatn of management or Human Resources.

               The Arbitration Agreement outlines how Family Dolllar and Team Members will! handle covered
               disputes inwo,ving workplace concerns. The Arbitration Agree,ment applies to a~I Family Dolilar Team
               Members and is a condition of conbnued employment. Fami ly Dollar believes thi,s offers a great
                                  1

               opportunity to resolve disputes privately, quickly and efficiently.
                                                                                1




             Learning Topics
              This module will cover:

               •     The revised Open Door Guidetines

               •     The Arbitration Agreem,ent




                                                   Page

Purpose of the course and what you should learn from it
                                                                           EXHIBIT C, Page 21                             Page 2
                                              ....   .
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                                              ...        -          -

                                                         Open Door and Arbitration at Family Dollar                   ·

       De.air T earn Member:                                                  my family dollar.-
       Family Dollar is pleased to prnvide, you with its Open Door Gommunjcati,on Guide-lines ("'Ope'n Door Gujdel,ines"') and its Mutual
       Agreement to Arbitrate Claims ("Arbitration Agrneme:nt"'). These apply to how you and Family Dollar resolve employment-related
       disputes.

       The Open Door Guidelines provide Team Membe.rs with a pro-cess for resolving wo.rkpl.ace concerns by working with their chain ·Of
       leadership and our Human Resources department. We are· convinced that a full internal review of di:ffere,nces is the, quickest and
       most productive way to resolve, these disputes. It also maintains good working relations.hips and avoids unnecessary confrontations.

       Altho,ugh the, Company urges Team Members to participate, in the Open Door Process. which many times wi.11 resolve employment-
       re lated dlisputes amicably and fairly, the, Co.mpany aJso has an Arbitration Agrnement. The Open Door Guide·lines is separate from
       the Arbitration Agreement.

       The Arbitration Agree·me·nt is a stand-alone and bindi ng agre·ement that will apply company-wide. We· hope that you and Family
       Dollar will not have legal disputes ,in co,nnection with you.r employment, and if such disputes do arise. we hope that they can be
       resolved informally through the Open Door Policy. However, if an employment-related dispute cannot be res,olved, or should you or
       Family Dollar decide at any time· to pursue cover.ed employment-related legal cfispute,s against the other, such ,disputes must be
       resolved individually in arbitration-not by way ,of a judge, or jury. The Arb1trat1on Agreement requirns both you and Family Dollar to
       arbitrate covered disputes, as dlefined in the Arbitration Agreement, before a private and neutrar third-party chosel'il by the Team
       Member and Family Do,llar.

       If you haw any questions about the Online Leaming Course (OLC), Open Door Policy or Arbitration Agre·ement, please contact
       your Manager ,or contact the H.R Se,rvice Center by visiting the My Family Dollar Life, page· from work o.r signing into
       MyFamilyDollarlife.com. In the, Ask HR bmc, click Ask HR and View My Questions to submit your question. You may also
       call 1-86'6-377-'6420. HR Service Ce,nt,er representatives are available Monday-Friday 8 a.m. to 10 p.m. Eastern time.

       Sincerelv.
      p-~..-t- pf~-:;7~
       Bryan Venbe,rg
       Se,nior Vice President, Hu man Resources
       Family Dollar



Letter from the SVP of HR - Original
                                                                        EXHIBIT C, Page 22                                                      Page 3
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                                         · Open Door and Arbitration at Family Dollar                       '


           Open Door Gu·delines
              •     Family Dollar has revised the· Open Door Guideli1nes outlined in the Team M,ember Handbook.

              •     The Open Door Guidelines provide Team Members with a process for resolving workplace

                    concerns by working with their direct chain of mana,gement and the Human Resources department.

                    We want you to kno         that Family Dollar's leadership team maintains an environment of openness

                    and mutual support.

              •     VVe are convinced that a full internal review of differences is the quickest and most productive way

                    to resolve these disputes. It also maintains good and productive working relationships and avoids

                    unnecessary confrontations.

              •     Family Dolliar encourages Team         e-mbers to participate in the Open Door process as outlined in

                    the link belo "'·
                                              ~=   ~              -           -     -       - - --



                                          I
                                                  Click Here to View and ,P rint
                                              Family Dollar's Open Door Guidelines
                                                                   Click here after you
                                                                 ha e read e Gu ·delines

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                                        Page                    ACKNOWLEDGE             BACK
WIIFM: Open Door Polley
                                                               EXHIBIT C, Page 23                                           Page 4
                                                           -.
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                                                                Open Door and Arbitration at Family Dollar


            Arbitration
               •     Arbitration is a process thatTe,am Members and' FamHy Donar wrn use to reso~ve covered

                      employment disput,es individuaHy privately quickl and effidently instead of through a court or jury
                                                                                         1               1




                      system.

               •     1
                     ln Arbitrati m\ a neutral thi1rd party resolves a covered employment r,elated dispurte between a Team

                      Member and FamHy Dollar.

               •     All Team Members and Family Dollar are covered by this Arbitration Agreement.

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                                       I
                                       I
                                                         Click Here to View and Print
                                            Family Dollar's Mutual Agreement to Arbitrate Claims

                                                                    Click this checkbox to indicate that you have scrolled
                                                                    to read all pages of the Arbitration Agree·m ent



                                                                                             CJ·ck here after you read the Arbitra ·on
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WIIFM: Mutual Arbitration Agreeme nt
                                                                                                     EXHIBIT C, Page 24                  Page 5
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                         2: ,                                                                    0
                              Open Door and Arbitration at Family Dollar




                                 BY CLICKING THE "I ACCEPT" BUTTON BELOW,
                                 I ACKNOWLEDGE THAT I HAVE CAREFULLY READ AND
                                 UNDERSTAND THIS A:GREEMENT AND AGREE TO ITS
                                 TERMS. I AGREE THAT THROUGH THIS AGREEMENT,
                                 THE COMPANY AND I ARE GIVING UP OUR RIGHTS TO
                                 A JURY TRIAL AND THAT PURSUANT TO THE TERMS
                                 OF THIS AGREEMENT; WE ARE AGREEING TO
                                 ARBITRATE DISPUTES COVERED BY THIS AGREEMENT.
                                 I FURTHER UNDERSTAND AND AGREE TO THE USE OF
                                 AN   ELECTROiNIC METHOD OF SIGNATURE TO
                                 DEMONSTRATE MY ACCEPTANCE AND AGREEMENT TO
                                 THE TERMS OF THIS AGREEMENT.

                                                    -    --    ----




                                                  ' I ACCEPT




                          Page                     ACKNOWLEDGE           BACK

Acknowledgement
                                                  EXHIBIT C, Page 25                                  Page 6
                               2:.
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                                     Open Door and Arbitration at Family Dollar


                Congratulations!
                You have completed the Open Door and Arbitration learning module.




                     Please close this learning module using the 'Exit' button in the upper right.
          You m.ay review this learning module at any time through your Completed Work in FDU.



End of course
                                                        EXHIBIT C, Page 26                                  Page 7
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                         EXHIBIT D




                                EXHIBIT D, Page 27
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,AMILY II LlAR
 Open Door Guidelines
 Family Dollar’s Open Door Guidelines provide Team Members with a process for expressing their work‐related
 concerns with their leadership team. Family Dollar’s leadership team maintains an environment of openness and
 mutual support. A Team Member may contact a member of leadership to discuss concerns either verbally or in
 writing, in the following order:

    1. Supervisor/Manager: Team Members are encouraged to first contact their immediate Supervisor/Manager
       to resolve work‐related concerns.

    2. Next‐Level Manager: If the Team Member and their Supervisor/Manager cannot resolve the concern, or the
       Team Member is uncomfortable approaching their Supervisor/Manager, the Team Member may pursue the
       matter with the next level(s) of leadership.

    3. Human Resources Representative: If the Team Member and their chain of leadership cannot resolve the
       concern, or the Team Member is uncomfortable approaching their chain of leadership, the Team Member
       may pursue the matter with their work location’s HR representative.

    4. Written Appeal: If a Team Member is not satisfied with the outcome through the above process, the Team
       Member has 21 days to submit a written appeal to Team Relations at Family Dollar, Inc., ATTN: Team
       Relations, PO Box 1017, Charlotte, North Carolina 28201‐1017, which will be reviewed by the HR Divisional
       Vice President or HR Vice President of the appropriate line of business. If the matter is not appealed in
       writing, the decision is final.




                                            EXHIBIT D, Guidelines
                                             Open Door Page 28
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                         EXHIBIT E




                                EXHIBIT E, Page 29
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                                    FAMILY DOLLAR, INC.
                           MUTUAL AGREEMENT TO ARBITRATE CLAIMS
1. INTRODUCTION: This Mutual Agreement to Arbitrate                  the Worker Adjustment Retraining and Notification Act, the
Claims (“Agreement”) is between me and Family Dollar, Inc.           Fair Labor Standards Act, and any amendments to these laws,
(the “Company”). Any reference to Company will be a                  and any such related or similar state or local laws, (v) any
reference also to Company’s parents, subsidiaries, partners,         federal, state or local law or common law doctrine for breach
divisions, and affiliated entities, and all successors and assigns   of contract, promissory estoppel, wrongful discharge or
of any of them. The Federal Arbitration Act (9 U.S.C. § 1 et         conversion, (vi) claims for interference with rights under the
seq.) shall govern this Agreement, which evidences a                 Employee Retirement Income Security Act of 1974, as
transaction involving commerce, and the Company and I agree          amended (“ERISA”), or other claims concerning
that the Company is engaged in transactions involving                administration of ERISA plans not excluded below, and (vii)
interstate commerce.         All disputes covered by this            claims under federal or state law regarding wages (including
Agreement between me and the Company shall be decided                without limitation claims for pay, minimum wage and
by an arbitrator through arbitration and not by way of               overtime), wage penalties, meal and rest breaks, classification,
court or jury trial.                                                 reimbursement of expenses, compensation, stock or incentive
                                                                     bonus plans, or intellectual property rights and associated
2. DISPUTES COVERED BY THE AGREEMENT: The                            laws.
Company and I mutually consent and agree to the resolution
by arbitration of all claims or controversies, past, present or      3. CLAIMS NOT COVERED BY THE AGREEMENT: I
future (“Disputes”), including without limitation, claims            agree that the following claims are not considered as a covered
arising out of or related to my application for                      Dispute and are excluded under the Agreement: (i) Workers’
assignment/employment, assignment/employment, and/or the             Compensation benefit claims; (ii) state unemployment or
termination of my assignment/employment that the Company             disability insurance compensation claims; (iii) claims for
may have against me or that I may have against any of the            benefits under employee benefit plans covered by ERISA that
following: (1) the Company, (2) its officers, directors,             contain an appeal procedure or other exclusive and/or binding
employees, or agents in their capacity as such or otherwise, (3)     dispute resolution procedure in the respective plan; (iv) claims
the Company's parent, subsidiary, and affiliated entities, (4)       under the National Labor Relations Act within the jurisdiction
the benefit plans or the plans' sponsors, fiduciaries,               of the National Labor Relations Board; and (v) claims that the
administrators, affiliates, and agents, and/or (5) all successors    Dodd-Frank Wall Street Reform and Consumer Protection Act
and assigns of any of them.                                          or other controlling federal statutes bar from the coverage of
                                                                     mandatory pre-dispute arbitration agreements.
Further, covered Disputes include any claim or controversy
regarding the Agreement or any portion of the Agreement or           The Company and I may apply to a court of competent
its      interpretation,     enforceability,     applicability,      jurisdiction for temporary or preliminary injunctive relief in
unconscionability, arbitrability or formation, or whether the        connection with an arbitrable controversy, but only upon the
Agreement or any portion of the Agreement is void or                 ground that the award to which that party may be entitled
voidable, with the exception noted in section 7, below, the          would be ineffectual without such provisional relief; provided,
“Class Action Waiver.”                                               however, that all issues of final relief shall be decided in
                                                                     arbitration, and the pursuit of the temporary or preliminary
Except as otherwise provided, this Agreement covers the              injunctive relief described herein shall not constitute a waiver
following legal claims that either the Company or I could            of rights under this Agreement.
bring arising out of or relating to my employment relationship
with the Company, including, but not limited to: (i)                 Pending Claims: This Agreement does not apply to any civil
discrimination based on race, creed, color, religion, sex, age,      lawsuit that was already filed by the Company or filed by me
disability, leave status, national origin, ancestry, sexual          or on my behalf (whether individually or as a member of a
orientation, marital status, veteran or military reserve status,     class) (“Pending Claims”) prior to the date that this Agreement
privacy or any other characteristic protected by federal, state      is signed by me. However, this Agreement does apply to any
or local law, (ii) retaliation, including, but not limited to,       civil lawsuit or other covered Dispute which is filed after I
whistleblower status or retaliation for filing a workers'            sign this Agreement. This Agreement also applies to any civil
compensation claim, (iii) torts, including, but not limited to,      lawsuit that was filed before I began my employment with the
defamation, invasion of privacy, infliction of emotional             Company, including without limitation civil lawsuits alleging
distress, or workplace injury not otherwise covered by               class or collective claims on behalf of employees.
applicable workers' compensation laws, (iv) all employment
related laws, including, but not limited to, Title VII of the        4. HOW TO INITIATE ARBITRATION OF COVERED
Civil Rights Act, the Civil Rights Acts and amendments of            DISPUTES: The Company and I agree that the aggrieved
1866, 1871 and 1991, the Age Discrimination in Employment            party must make a written “Request for Arbitration” of any
Act, the Older Workers Benefit Protection Act, the Americans         claim to the other party no later than the expiration of the
with Disabilities Act, the Equal Pay Act, Genetic Information        statute of limitations (deadline for filing) that applicable state
Nondiscrimination Act, the Family and Medical Leave Act,             or federal law prescribes for the claim. The parties are


                                  EXHIBIT E, Page 30
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                                PAGE 1 OF 3
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encouraged to make written Request for Arbitration of any          7. REPRESENTATION: Any party may be represented by
claim as soon as possible after the event or events in dispute     an attorney selected by the party. I understand and agree that I
so that arbitration of any differences may take place promptly.    have been given the opportunity to discuss this Agreement
                                                                   with my private legal counsel and have availed myself of that
Written Request for Arbitration to the Company, or its             opportunity to the extent I wish to do so.
officers, directors, employees or agents, shall be sent to its
home office, currently at: Arbitration Intake, Family Dollar,      8. PROCEDURES AND RULES: The parties shall select
PO Box 1017, Charlotte, NC 28201, to the attention of the          the neutral arbitrator and/or arbitration sponsoring
Office of General Counsel. I will be given written Request for     organization by mutual agreement.
Arbitration at the last home address I provided in writing to
the Company. The Request for Arbitration shall, unless              If the parties are not able to mutually agree to an arbitrator
otherwise required by law, clearly state “Request for              and/or arbitration sponsoring organization, the arbitration will
Arbitration”. The Request for Arbitration shall be sent to the     be held under the auspices of the American Arbitration
other party by certified or registered mail, return receipt        Association (“AAA”), and except as provided in this
requested, and first class mail.                                   Agreement, shall be in accordance with the then current
                                                                   Employment Arbitration Rules of the AAA (“AAA Rules”)
5. THE ROLE OF ADMINISTRATIVE AGENCIES:                            (the AAA Rules are available through the Company’s Human
Disputes may be brought before an administrative agency to         Resources      Department      or    via    the    internet    at
the extent applicable law permits access to an agency              www.adr.org/employment). Unless the parties jointly agree
notwithstanding an agreement to arbitrate covered Disputes,        otherwise, the Arbitrator shall be either an attorney who is
including, but not limited to, claims or charges brought before    experienced in employment law and licensed to practice law in
the Equal Employment Opportunity Commission, the U.S.              the state in which the arbitration is convened, or a retired
Department of Labor, the National Labor Relations Board and        judge from any jurisdiction (the "Arbitrator"). Unless the
the Office of Federal Contract Compliance Programs.                parties jointly agree otherwise, the arbitration shall take place
Nothing in the Agreement shall be construed to: (i) relieve any    in or near the city in which I am or was last employed by the
party of the duty to exhaust administrative remedies by filing a   Company.
charge or complaint with an administrative agency and
obtaining a right to sue notice, where otherwise required by       In the event the parties mutually choose a sponsoring
law, or (ii) prevent either party from cooperating with a          organization, or AAA is designated, the Arbitrator shall be
federal or state body as required by law. The Company will         selected as follows: The organization selected shall give each
not retaliate against me for filing a claim with an                party a list of eleven (11) arbitrators drawn from its panel of
administrative agency.                                             arbitrators. Each party shall have ten (10) calendar days from
                                                                   the postmark date on the list to strike all names on the list it
6.      CLASS AND REPRESENTATIVE ACTION                            deems unacceptable. If only one common name remains on
WAIVERS: THE COMPANY AND I HEREBY WAIVE                            the lists of all parties, that individual shall be designated as the
ANY RIGHT FOR ANY DISPUTE TO BE BROUGHT,                           Arbitrator. If more than one common name remains on the
HEARD, DECIDED OR ARBITRATED AS A CLASS                            lists of all parties, the parties shall strike names alternately
AND/OR COLLECTIVE ACTION (“Class Action                            from the list of common names until only one remains, with
Waiver”). Notwithstanding any other clause contained in            the party to strike first to be determined by a coin toss. If no
this Agreement, the preceding sentence shall not be                common name remains on the lists of all parties, the selected
severable from this Agreement in any instance in which             organization shall furnish an additional list of eleven (11)
the Dispute is brought as a class and/or collective action.        arbitrators from which the parties shall strike alternately, with
THE COMPANY AND I ALSO HEREBY WAIVE ANY                            the party striking first to be determined by a coin toss, until
RIGHT FOR ANY DISPUTE TO BE BROUGHT,                               only one name remains. That person shall be designated as
HEARD, DECIDED OR ARBITRATED AS A                                  the Arbitrator.
REPRESENTATIVE ACTION (“Representative Action
Waiver”). However, this Representative Action Waiver may           9. DISCOVERY AND SUBPOENAS: Each party shall at a
be severed if it would otherwise render this Agreement             minimum have the right to take the deposition of one
unenforceable in any action brought under a private attorneys      individual and any expert witness designated by another party.
general law, and following severance the representative action     Each party also shall have the right to propound requests for
may be brought in a court of law.                                  production of documents to any party. Additional discovery
                                                                   may be had by mutual agreement of the parties or where the
Notwithstanding any other clause contained in this                 Arbitrator selected so orders pursuant to a request by either
Agreement, any claim that this Class Action Waiver or              party. Each party shall have the right to subpoena witnesses
Representative Action Waiver, or any portion of this Class         and documents for the arbitration, as well as documents
Action Waiver or Representative Action Waiver, is                  relevant to the case from third parties.
unenforceable, inapplicable, unconscionable, or void or
voidable, shall be determined only by a court of competent         10. ARBITRATION FEES AND COSTS: The Company
jurisdiction and not by an arbitrator.                             shall pay the fees and costs of the Arbitrator and/or that are
                                                                   assessed by the organization through which the arbitration is
                                                                   conducted.


                                  EXHIBIT E, Page 31
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                               PAGE 2 OF 3
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                                                                     13. CONSTRUCTION: Except as provided in section 6,
Each party shall pay for its own costs and attorneys' fees, if       “Class and Representative Action Waivers” above, if any
any. However, if any party prevails on a claim which affords         provision of this Agreement is adjudged to be void, voidable
the prevailing party attorneys' fees, or if there is a written       or otherwise unenforceable, in whole or in part, such provision
agreement providing for fees, the Arbitrator may award               shall, without affecting the validity of the remainder of the
reasonable fees to the prevailing party as provided by law. In       Agreement, be: (i) modified to the extent necessary to render
the event the law (including the common law) of the                  such term or provision enforceable preserving to the fullest
jurisdiction in which the arbitration is held requires a different   extent possible the intent and agreements herein, or (ii) to the
allocation of arbitral fees and costs in order for this Agreement    extent such modification is not permissible, severed from this
to be enforceable, then such law shall be followed.                  Agreement. All remaining provisions shall remain in full
                                                                     force and effect. A waiver of one or more provisions of this
11. JURISDICTION OF ARBITRATOR:                                      Agreement by any party shall not be a waiver of the entire
                                                                     Agreement or any other provision of the Agreement.
    a)   The Arbitrator may award to me or the Company any
         remedy to which that party is entitled under                14. CONSIDERATION: I and the Company agree that the
         applicable law (including, but not limited to, legal,       mutual obligations by the Company and me to arbitrate
         equitable and injunctive relief), but such remedies are     Disputes, and my employment and/or continued employment,
         limited to those that would be available to a party in      and the Company’s payment of fees and costs of the arbitrator
         his or her individual capacity in a court of law for the    and/or that are assessed by the organization through which the
         Disputes presented to and decided by the Arbitrator.        arbitration is conducted (including my filing fee) provide
         The Arbitrator shall apply the substantive law of the       adequate consideration for this Agreement.
         state in which the claim arose, or federal law, or both,
         as applicable to the claims asserted. The Arbitrator is     15. AT WILL EMPLOYMENT: I understand and agree
         without jurisdiction to apply any different substantive     that this Agreement does not in any way alter the “at-will”
         law.                                                        status of my employment.

    b) The Arbitrator shall have jurisdiction to hear and rule       16. SOLE AND ENTIRE AGREEMENT: I agree that this
       on pre-hearing disputes and is authorized to hold             is the complete agreement of the parties on the subject of
       prehearing conferences by telephone or in person, as          arbitration of Disputes. This Agreement shall survive the
       the Arbitrator deems necessary. The Arbitrator shall          termination of my employment and the expiration of any
       have the authority to hear and decide dispositive             benefit. No party is relying on any representations, oral or
       motions, and/or a motion to dismiss and/or a motion           written, on the subject of the effect, enforceability, or meaning
       for summary judgment by any party and shall apply             of this Agreement, except as specifically set forth in this
       the standards governing such motions under the                Agreement.       This Agreement does not supersede any
       Federal Rules of Civil Procedure. Should any party            restrictive covenant(s) or confidentiality obligations
       refuse or neglect to appear for, or participate in, the       previously entered into by me and the Company.
       arbitration hearing, the Arbitrator shall have the
       authority to decide the dispute based upon whatever           BY CLICKING THE “I ACCEPT” BUTTON
       evidence is then before him or her.                           OR SIGNING BELOW, I ACKNOWLEDGE
    c)   The Arbitrator shall render an award by written             THAT I HAVE CAREFULLY READ AND
         opinion no later than 30 days from the date the             UNDERSTAND THIS AGREEMENT AND
         arbitration hearing concludes or the post-hearing           AGREE TO ITS TERMS. I AGREE THAT
         briefs (if requested) are received, whichever is later,     THROUGH THIS AGREEMENT,       THE
         unless the parties agree otherwise. The opinion shall       COMPANY AND I ARE GIVING UP OUR
         be in writing and include the factual and legal basis
         for the decision.                                           RIGHTS TO A JURY TRIAL AND THAT
                                                                     PURSUANT TO THE TERMS OF THIS
12. JUDICIAL REVIEW: Judicial review shall be                        AGREEMENT; WE ARE AGREEING TO
governed by the Federal Arbitration Act. 9 U.S.C. §§ 9-11.           ARBITRATE DISPUTES COVERED BY THIS
The decision of the Arbitrator may be entered and enforced as        AGREEMENT.
a final judgment in any court of competent jurisdiction.

________________________________________                             ________________________________________
Employee Signature                                                   Employee Name Printed
________________________________________
Date


________________________________________
Bryan Venberg, Senior Vice President, Human Resources

                                  EXHIBIT E, Page 32
MUTUAL AGREEMENT TO ARBITRATE CLAIMS                                                               PAGE 3 OF 3
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                         EXHIBIT F




                                EXHIBIT F, Page 33
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 User ID:    838480                                                 Name:         BOULDIN, MARK T
  Item Events
   Item ID                        Title                                            Scheduled Offering IDdesc Completion Date    Status
   FD-LDS-SA-SO                   SOFD - Self-Awareness: Driver of Success (SO)                             10/7/2013 4:40:49   COMPLETE
                                                                                                            PM
       Details
       Comments:
   Item Events
   Item ID                        Title                                            Scheduled Offering IDdesc Completion Date    Status
   SO-STAR-17JUN13                STAR Topics - June 2013                                                   10/7/2013 4:46:02   COMPLETE
                                                                                                            PM
       Details
       Comments:
   Item Events
   Item ID                        Title                                            Scheduled Offering IDdesc Completion Date    Status
   FD-ODARB-2013                  Open Door and Arbitration at Family Dollar                                10/7/2013 4:58:00   COMPLETE
                                                                                                            PM
       Details
       Comments:
   Item Events
   Item ID                        Title                                            Scheduled Offering IDdesc Completion Date    Status
   SO-STAR-21OCT13                STAR Topics - October 2013                                                11/14/2013          COMPLETE
                                                                                                            11:09:50 PM
       Details
       Comments:
   Item Events
   Item ID                        Title                                            Scheduled Offering IDdesc Completion Date    Status
   SOFD-LCE                       SOFD-LCE                                                                  1/9/2014 7:32:27    COMPLETE
                                                                                                            PM
       Details
       Comments:




10/21/2021 11:15:18 AM                                              EXHIBIT
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                         EXHIBIT G




                                EXHIBIT G, Page 35
                        Case 2:22-cv-01410-GW-JC Document 16-2 Filed 05/05/22 Page 36 of 44 Page ID #:211
 User ID:    895593                                                Name:      LEE, ASHLEY S
  Item Events
   Item ID                       Title                                         Scheduled Offering IDdesc Completion Date    Status
    SO-FB-MER-APP                SOFD - Merchandising - Apparel                                         7/29/2013 6:34:03   COMPLETE
                                                                                                        PM
       Details
       Comments:
   Item Events
   Item ID                       Title                                         Scheduled Offering IDdesc Completion Date    Status
    SO-FB-MER-CW                 SOFD - Merchandising - Cash Wrap                                       7/29/2013 6:44:27   COMPLETE
                                                                                                        PM
       Details
       Comments:
   Item Events
   Item ID                       Title                                         Scheduled Offering IDdesc Completion Date    Status
    SO-FB-MER-COOL               SOFD - Merchandising - Coolers                                         7/29/2013 6:59:16   COMPLETE
                                                                                                        PM
       Details
       Comments:
   Item Events
   Item ID                       Title                                         Scheduled Offering IDdesc Completion Date    Status
    SO-FB-MER-DISP               SOFD - Merchandising - Displays                                        7/29/2013 7:03:01   COMPLETE
                                                                                                        PM
       Details
       Comments:
   Item Events
   Item ID                       Title                                         Scheduled Offering IDdesc Completion Date    Status
    FD-ODARB-2013                Open Door and Arbitration at Family Dollar                             10/18/2013          COMPLETE
                                                                                                        11:52:47 AM
       Details
       Comments:




10/21/2021 9:32:39 AM                                              EXHIBIT
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    • DOLLAR TREE                           I   FAMILY D>LLAR®
 ANNOUNCING A NEW 2020 ARBITRATION AGREEMENT
The Company’s Arbitration Program has been in place for more than five years.
Associates at Dollar Tree and Family Dollar will soon be receiving a new Arbitration
Agreement, along with Frequently Asked Questions, in the mail. The new Arbitration
Agreement will replace your current Arbitration Agreement.

If you are employed by the Company on December 10, 2020, you will be bound by
the new Arbitration Agreement, without any further action on your part.* You do
not need to sign the new Arbitration Agreement.

If you stop working for the Company before December 10, 2020, you will not be
subject to the new Arbitration Agreement, but you will continue to be bound by your
current Arbitration Agreement.

The new Arbitration Agreement applies to claims filed in court or arbitration
demands served after October 23, 2020. Your current Arbitration Agreement will
continue to apply to claims filed in court or arbitration demands served on or before
that date.

Examples of some of the differences between the new Arbitration Agreement and
the prior Arbitration Agreement are:
• Associates and the Company are no longer directed to use a specifically
   designated arbitration provider, such as JAMS. Instead, the parties will have the
   flexibility to mutually agree on the arbitration provider.
• Claims that qualify for small claims court must be resolved in small claims court
   -- and not arbitration -- unless both the Company and the Associate agree to use
   arbitration.

For a copy of the new Arbitration Agreement and additional information, please:
• Visit the Company’s arbitration website, www.dtarbitration.com
• Send an email to dtarbitration@dollartree.com, or
• Consult your own legal counsel.

Thank you for your hard work on behalf of Dollar Tree and Family Dollar.

*If you timely opted out of Dollar Tree’s original Arbitration Agreement in 2015,
you may not be bound by this or any other Arbitration Agreement.
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                         EXHIBIT K




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